             Case 1:17-cr-00965-JB Document 67 Filed 06/21/18 Page 1 of 1



                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )          Case No.: 17-CR-00965- JB
                                                   )
       vs.                                         )
                                                   )
KIRBY CLEVELAND,                                   )
                                                   )
                Defendant.                         )

     NOTICE OF SUBSTITUTION OF COUNSEL AND ENTRY OF APPEARANCE

       The United States hereby notifies the Court that Assistant United States Attorney Jennifer

M. Rozzoni withdraws as counsel of record for the United States, and Assistant United States

Attorney Letitia C. Simms enters her appearance on behalf of the United States.

       The United States respectfully requests that the Court deliver all future notices, pleadings

and correspondence to counsel of record Letitia C. Simms.

                                                       Respectfully submitted,

                                                       JOHN C. ANDERSON
                                                       United States Attorney

                                                       /s/ Electronically filed on June 21, 2018
                                                       LETITIA C. SIMMS
                                                       Assistant U.S. Attorney
                                                       Post Office Box 607
                                                       Albuquerque, NM 87102
                                                       (505) 346-7274

I HEREBY CERTIFY that on June 21, 2018,
I filed the foregoing electronically through the
CM/ECF system, which caused counsel of
record to be served by electronic means, as
more fully reflected on the Notice of
Electronic Filing.
/s/
LETITIA C. SIMMS
Assistant U.S. Attorney
